Case 1:10-cr-00567-HG Document 97-1 Filed 08/30/12 Page 1of6 PagelD.1191

459113 .2
WATANABE ING LLP
A Limited Liability Law Partnership

JONATHAN W.Y. LAT 6504-0
TRACEY L. KUBOTA 9187-0
First Hawaiian Center

999 Bishop Street, 23rd Floor
Honolulu, Hawaii 96813
Telephone No.: (808) 544-8300
Facsimile No.: (808) 544-8399

Attorneys for Petitioner
HAWATI STATE FEDERAL CREDIT UNION
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII
UNITED STATES OF AMERICA, CR. NO. 10-00567 HG
Plaintiff,
vs.

BRANDON C. HALEAMAU,

Defendant.

STATE OF HAWATTI )
) SS.

COUNTY OF HONOLULU )
Affiant, being first duly sworn on oath, deposes and says:

1. I am a Collection Officer for Petitioner HAWAII
STATE FEDERAL CREDIT UNION, a federal credit union authorized to

do business within the State of Hawaii (“Petitioner”).
Case 1:10-cr-00567-HG Document 97-1 Filed 08/30/12 Page 2 of 6 PagelD.1192

2. In that capacity, I am one of the custodians of
records for Plaintiff’s loans in Hawaii that have gone into
default. Those records are maintained and kept in the course of
Plaintiff’s regularly conducted business activity. Entries into
those records are made at or near the time of any event recorded
in those records, by persons having personal knowledge of such
event. One of Plaintiff's records includes an auto loan given
to Defendant Brandon C. Haleamau (“Mr. Haleamau”) .

3. I have personal knowledge of and am competent to
testify to the matters hereinafter stated, and do hereby make
this affidavit in support of “Hawaii State Federal Credit
Union’s Petition for Adjudication of Interest.”

4. On or about July 26, 2007, Mr. Haleamau executed
that certain Loanliner Open-End Plan Signatures Plus Credit and
Security Agreement (the “Plan”) with HSFCU. According to the
Plan, the parties anticipated that “from time to time, [Mr.
Haleamau] will borrow money (called ‘advances’) under the Plan”
for “different types of credit (called ‘subaccounts’) available
under the Plan[.]” A true and correct copy of the Plan is
attached hereto as Exhibit A.

5. In conjunction with the same, on or about
September 8, 2008, Mr. Haleamau received that certain Auto Loan
referenced as Account No. 88842-L-1 (the "Auto Loan"). Asa

result of the Auto Loan, FIFTY THOUSAND DOLLARS ($50,000.00) was
Case 1:10-cr-00567-HG Document 97-1 Filed 08/30/12 Page 3 of 6 PagelD.1193

disbursed by HSFCU to Mr. Haleamau for the purchase of that
certain 2009 Nissan GT-R, VIN JNLAR54M19M220020 (the “Subject
Vehicle”). This transaction is evidenced by that certain
Loanliner Open-End Disbursement Receipt Plus agreement dated
September 8, 2008 (the “Auto Loan Contract”). As part of the
Auto Loan, HSFCU was provided with a secured interest in the
Subject Vehicle. A true and correct copy of the Auto Loan
Contract is attached hereto as Exhibit B. Petitioner continues
to be a valid lien holder of the Subject Vehicle and its
security interest has been perfected by notation of Petitioner's
interest on the certificate of title. A copy of the Subject
Vehicle’s Electronic Title reflecting Petitioner’s ownership
interest is attached hereto as Exhibit C.

6. Pursuant to the Auto Loan Contract, Mr. Haleamau
agreed to make monthly payments at the time an in the manner
required by the terms of the Plan. However, Mr. Haleamau
failed, neglected, and refused to make the required monthly
payments and is consequently in default thereunder. Pursuant to
the terms of the Plan and Auto Loan Contract, Petitioner’s
damages include all amounts due thereunder as well as all
reasonable attorneys' fees and costs incurred by Petitioner with
respect to enforcement of the Auto Loan Contract and this

matter.
Case 1:10-cr-00567-HG Document 97-1 Filed 08/30/12 Page 4 of6 PagelD.1194

7. As of August 22, 2012, Mr. Haleamau owed

Petitioner the following amounts under the Auto Loan:

Principal: s 28,259.14
Interest (to 08/27/12): 3,086.20
Attorneys’ Fees and Costs: 2,490.05
TOTAL $ 33,835.39

plus continuing interest accruing after August 27, 2012 at the
contract rate of 6.500% per year, $4.9647 per diem.

8. By reason of said default, Petitioner is entitled
to, among other things, take possession of the Subject Vehicle,
sell the Subject Vehicle, and use the proceeds of the sale
towards the amount Mr. Haleamau owes to Petitioner.

9. Petitioner had no knowledge that the Subject
Vehicle was or would be involved in any violation of the law.
Petitioner did not participate in the offense or offenses by Mr.
Haleamau, Petitioner did not consent to the commission of the
offense or offenses by Mr. Haleamau, and the commission of the
offense or offenses by Mr. Haleamau violated a covenant of the
Auto Loan which specifically prohibited the use of the Subject
Vehicle for “any unlawful purpose.” See Plan at f 21.
Petitioner is a federal credit union involved with the financing
of the purchase of the Subject Vehicle; Petitioner is not
involved with nor does it have other knowledge of the use of the
Subject Vehicle following the financing at purchase. More

Specifically, Petitioner had no knowledge the Subject Vehicle
Case 1:10-cr-00567-HG Document 97-1 Filed 08/30/12 Page 5of6 PagelD.1195

was involved in a transaction or attempted transaction in
violation of Title 18 USC 1956.

10. As discussed above, Petitioner holds a bona fide
security interest in the Subject Vehicle, and Petitioner had no
knowledge and did not consent to the commission of any offense
or offenses by Mr. Haleamau. Mr. Haleamau has defaulted on that
loan with Petitioner, Petitioner is owed money secured by the
Subject Vehicle, and Petitioner is entitled to repossess and
liquidate the Subject Vehicle to pay down the full amount it is

owed by Mr. Haleamau under the terms of the Auto Contract.

[The remainder of this page has intentionally been left blank]
Case 1:10-cr-00567-HG Document 97-1 Filed 08/30/12 Page 6 of 6 PagelD.1196

IT, ALLEN MURAYAMA, declare under penalty of perjury

that the foregoing is true and correct.

Aupeot 26, #00? Mi M\wrpn pan

Date ALLEN MURAYAMA
Loan Recovery QGf/ficer for
Hawaii State Federal Credit
Union

Subscribed and sworn to before me May,
this £774 day of Aupius ? , 2012. OS UENE 4%,

. SOF TA LE
SF AOPARY
=i 91-224 tk
20 's

Notary Public; State of Hawaji UBL:
' ' : . 9, Ly 3 =X e, “es
My commission expires: ¢ : ZV preteens WS
“My)* OF APS
“AWW
NOTARY CERTIFICATION
Doc. Affidavit of A - Allen Murayama; Exhibits A
Description: -@
Doc. Date: SLE) A # Pages: C Circuit: fel
G_Hfi_§ Qe Z Cu pusctk 2b, POC
IN , Dat
nee (CLE Lae ate

OU CENE <q Charlene Abihai
Se be

x iY
